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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

             MOTION FOR EXPANDED PUBLIC ACCESS TO TRIAL

       The Sixth Amendment confirms my right to a public trial. Yet while the Federal

Courthouse is technically open to the public, in reality it is impossible for most Americans to

access the Court without sacrificing considerable time and expense to travel. I have friends and

family scattered throughout the country. With inflation high, many have tight budgets. They

would like to attend my trial but will be unable to do so due to the cost of travel.

       I also have a strong personal commitment to promoting transparency in government. I

believe that when government is open and accessible to the people, the function of government

improves, and civic knowledge expands. To many, the judicial branch is mysterious. From this

reason, I have conducted my defense according to the principle that more sunshine in the legal

process will improve our institutions and outcomes.

       I also recall that an audio-line was previously allowed in the trial of Kyle Fitzsimmons,

21-cr-00158-RC, which greatly improved public access to proceedings.

       Therefore, since the Sixth Amendment intended trials be public, and since Court access is

prohibitive to the poor and distant, and since sunshine is healthy for all, I move the Court to grant

expanded access to my trial, either by allowing live video or a call-in line to in-Court audio.
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  Respectfully submitted to the Court,

                                                 By: William Pope

                                                     /s/


                                                 William Pope
                                                 Pro Se Officer of the Court
                                                 Topeka, Kansas




                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on May 11, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
